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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                  v.                                      Criminal No. 2:22-cr-125

 LARRY J. GOISSE, JR.

                               INFORMATION MEMORANDUM

         AND NOW comes the United States of America, by its attorneys, Cindy K. Chung, United

States Attorney for the Western District of Pennsylvania, and Robert S. Cessar, Assistant United

States Attorneys for said District, and submits this Information Memorandum to the Court:

                                     I. THE INFORMATION

         A five-count Information was filed against the above-named defendant for alleged

violations of federal law:

COUNT         OFFENSE/DATE                                           TITLE/SECTION

   1-5        Health Care Fraud                                      18 U.S.C. §§ 1347 and 2

              September 18, 2018 (Count 1)
              September 22, 2018 (Count 2)
              September 26, 2018 (Count 3)
              September 29, 2018 (Count 4)
              October 8, 2018 (Count 5)

                              II. ELEMENTS OF THE OFFENSES

         A.      As to Counts 1-5:

                 In order for the crime of health care fraud, in violation of Title 18, United States

Code, Section 1347, to be established, the government must prove all of the following essential

elements beyond a reasonable doubt:

                 1.     That the defendant knowingly devised or participated in a scheme to defraud

Medicare to obtain by means of false or fraudulent pretenses, representations, or promises, any of
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the money or property owned by, or under the custody or control of Medicare in connection with

the delivery of or payment for health care benefits, items, or services;

                2.      That the defendant acted with the intent to defraud; and

                3.      That Medicare was a public plan or contract, affecting commerce, under

which medical benefits, items, or services were provided to any individual who was providing a

medical benefit, item, or service for which payment may be made under a (private) plan or contract,

affecting commerce, under which medical benefits, items, or services were provided to any

individual.

                Third Circuit Model Criminal Jury Instruction 6.18.1347

                                         III. PENALTIES

        A.      As to Counts 1-5: Health Care Fraud, in violation of 18 U.S.C. §§ 1347 and 2:

                1.      (a)    A term of imprisonment of not more than ten (10) years;

                        (b)    If the violation results in serious bodily injury as defined in Title 18,

United States Code, Section 1365, a term of imprisonment of not more than twenty (20) years;

                        (c)    If the violation results in death, a term of imprisonment for any term

of years or for life;

                2.      A fine not more than the greater of $250,000 or an alternative fine in an

amount not more than the greater of twice the gross pecuniary gain to any person or twice the

pecuniary loss to any person other than the defendant, unless the imposition of this fine would

unduly complicate or prolong the sentencing process; and

                3.      A term of supervised release of not more than three (3) years.

                        IV. MANDATORY SPECIAL ASSESSMENT

                A mandatory special assessment of $100.00 must be imposed at each count upon

which the defendant is convicted, pursuant to 18 U.S.C. § 3013.

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                                      V. RESTITUTION

              Restitution may be required in this case as to Counts One through Five, together

with any authorized penalty, as part of the defendant’s sentence pursuant to 18 U.S.C. §§ 3663,

3663A, and 3664.

                                      VI. FORFEITURE

              Not applicable in this case.


                                                   Respectfully submitted,

                                                   CINDY K. CHUNG
                                                   United States Attorney


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                                                   ROBERT S. CESSAR
                                                   Assistant U.S. Attorney
                                                   PA ID No. 47736




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